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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT



                                           Case No.: 3:20-cv-198
DEIRDRE MILLER,
            Plaintiff,                     STIPULATION OF DISMISSAL
                                           OF DEFENDANT CAPITAL ONE
      v.                                   BANK (USA), N.A. WITH
                                           PREJUDICE

CAPITAL ONE BANK (USA), N.A.,
            Defendant.


Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Deirdre Miller and
Defendant Capital One Bank (USA), N.A. (“Capital One”), by and through
undersigned
counsel, hereby stipulate that all claims against Capital One, shall be dismissed
from this
action with prejudice. The parties shall bear their own attorneys’ fees and costs.


                                               RESPECTFULLY SUBMITTED,


Date: July 23, 2020                            /s/ Daniel G. Ruggiero
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                          CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2020, I electronically filed the foregoing
with the Clerk of the Court using the ECF system, which will send notice of such
filing to all attorneys of record in this matter.

/s/Diego Sanchez




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